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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                            )
In re:
                                                            )     Case No. 16-10527 (MFW)
THE SPORTS AUTHORITY HOLDINGS,                              )     (Jointly Administered)
INC., et al.,1                                              )
                                                            )     Chapter 11
                                  Debtors.                  )
                                                            )
O2COOL, LLC, a Delaware limited liability
                                                            )
company,
                                                            )
                                                            )
                                  Plaintiff,
                                                            )
                                                            )
            v.
                                                            )     Adv. No. 16-______________
                                                            )
TSA STORES, INC.; BANK OF AMERICA,
                                                            )
N.A.; WELLS FARGO BANK, NATIONAL
                                                            )
ASSOCIATION; WILMINGTON SAVINGS
                                                            )
FUND SOCIETY, FSB; YUSEN LOGISTICS
                                                            )
(AMERICAS) INC.; and OOCL (USA), INC.
                                                            )
                                                            )
                                  Defendants.

                                               COMPLAINT

            Plaintiff, O2Cool, LLC (“O2Cool”), by and through its undersigned counsel, for its

Complaint against Defendants (collectively, the “Defendants”), TSA Stores, Inc. (“TSA Stores”);

Bank of America, N.A., as Administrative and Collateral Agent (“BofA”); Wells Fargo Bank,

National Association, as FILO Agent (the “FILO Agent”); Wilmington Savings Fund Society,

FSB, as successor administrative agent (the “Prepetition Term Loan Agent;” together with BofA

and FILO Agent, the “Lenders”); Yusen Logistics (Americas) Inc. (“Yusen”); and OOCL

(USA), Inc. (“OOCL”), respectfully states as follows:




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  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Sports
Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); The Sports Authority, Inc. (2802); TSA Stores,
Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664) (collectively, the
“Debtors”).

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                                              PARTIES

            1.   O2Cool is a Delaware limited liability company with its principal place of

business located at 168 North Clinton Street, Suite 500, Chicago, Illinois 60661. O2Cool is a

leading designer, manufacturer and distributor of creative consumer products that solve unique

problems, specializing in cooling, hydration and patio, pool & beach solutions.

            2.   TSA Stores is a debtor-in-possession in the above-captioned jointly administered

chapter 11 proceeding pending in the United States Bankruptcy Court for the District of

Delaware. Its principal place of business is located at 1050 West Hampden Avenue, Englewood,

Colorado 80110. TSA Stores is wholly owned by The Sports Authority, Inc. (“TSA”) and, prior

to its liquidation, was the primary operating entity engaged in the business of selling retail

sporting goods and apparel to the general public.

            3.   BofA is a national banking association. On information and belief, certain of the

Debtors are parties to that certain Second Amended and Restated Credit Agreement dated as of

May 17, 2012 (as amended, amended and restated, supplemented or otherwise modified from

time to time, the “Prepetition ABL Credit Agreement”) by and among TSA and TSA Stores as

borrowers, Slap Shot Holdings, Corp. (“Slap Shot”) and TSA Gift Card, Inc. (“Gift Card”) as

guarantors, BofA as Administrative Agent and Collateral Agent, and the revolving lenders party

thereto, which provided for up to $650 million in aggregate loans in the form of an asset-based

revolving credit facility.

            4.   FILO Agent is a national banking association. On information and belief, certain

of the Debtors entered into that certain Second Amendment to the Prepetition ABL Credit

Agreement which added to the Prepetition ABL Credit Agreement a $95 million first-in, last out

term loan tranche (the “FILO Loan”) with FILO Agent as agent for certain additional lenders as

to the FILO Loan, subject to relative collateral priorities set forth therein.

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            5.    The Prepetition Term Loan Agent is a full-service bank based in Wilmington,

Delaware. On information and belief, certain of the Debtors are obligated under that certain

Amended and Restated Credit Agreement, dated as of November 16, 2010 (as amended,

amended and restated, supplemented or otherwise modified from time to time, the “Prepetition

Term Loan Credit Agreement”), by and among TSA as borrower, Slap Shot, TSA Stores, and

Gift Card as guarantors, Prepetition Term Loan Agent as successor Administrative Agent to

BofA, and the lenders named therein (the “Prepetition Term Loan Lenders”) whereby the

Prepetition Term Loan Lenders extended to TSA a term loan in the original principal amount of

approximately $300 million, subject to relative collateral priorities pursuant to an intercreditor

agreement.

            6.    Yusen is a New York corporation that transported or coordinated the

transportation of goods sold by O2Cool to TSA Stores.

            7.    OOCL is a New York corporation that transported goods sold by O2Cool to TSA

Stores.

                                  JURISDICTION AND VENUE

            8.    On March 2, 2016 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. Each of the Debtors’ bankruptcy

cases is being jointly administered.

            9.    Since the Petition Date, Debtors have remained in possession of their assets as

debtors-in-possession under §§ 1107 and 1008 of the Bankruptcy Code.

            10.   This is an adversary proceeding brought pursuant to Rule 7001 of the Federal

Rules of Bankruptcy Procedure seeking a declaratory judgment determining whether certain

property constitutes property of the estate and the relative priority of liens therein, and the

recovery of money or property.

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            11.   This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157(b), 1334(b) and 2201(a). The Court’s consideration of this matter constitutes a core

proceeding under 28 U.S.C. § 157(b) over which this Court has jurisdiction, and to which

O2Cool consents, to enter a final order.

            12.   Venue is proper in this judicial district under 28 U.S.C. § 1409(a).

                                      BACKGROUND FACTS

O2Cool’s Sale of Goods to TSA Stores

            13.   Prior to the Petition Date, O2Cool sold certain goods to TSA Stores as described

in the invoices attached hereto as Exhibit A (the “Stopped Goods”) in the total amount of

$608,130.00 (the “Unpaid Balance”) which remains unpaid. The Stopped Goods were sold

pursuant to a TSA Stores, Inc. 2015 Import Vendor Deal Sheet Summary between O2Cool and

TSA Stores, a copy of which is attached hereto as Exhibit B. Orders were confirmed by

purchase orders that were submitted electronically by TSA Stores to O2Cool. Copies of the data

underlying the electronic purchase orders are attached hereto as Exhibit C.

            14.   To transport the Stopped Goods from their origin in China to the Port of Long

Beach, California and ultimately to TSA Stores’ distribution center in Colorado, the Stopped

Goods were placed for shipment with Yusen, the party with which TSA Stores had contracted for

shipment of its orders. TSA Stores required that O2Cool utilize the services of Yusen for

shipment of the Stopped Goods. O2Cool did not, at any relevant time, maintain a contractual

relationship with Yusen.

            15.   On information and belief, Yusen, in turn, arranged for various carriers to

transport the Stopped Goods. On information and belief, OOCL was one such carrier and did, in

fact, transport a majority of the Stopped Goods.



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O2Cool’s Issuance of Stoppage Notices

            16.   Prior to the Petition Date, upon learning of TSA Stores’ insolvency and intention

to file for bankruptcy protection, O2Cool transmitted to Yusen (and copied TSA Stores) five

separate notices of stoppage of delivery of goods in transit under § 2-705 of the Uniform

Commercial Code (the “Stoppage Notices”). Copies of the Stoppage Notices are attached hereto

as Exhibit D.       The Stoppage Notices were transmitted in the manner indicated above the

addressee block on each. In the Stoppage Notices, O2Cool demanded that Yusen immediately

stop delivery of, and return the Stopped Goods to, O2Cool. Yusen acknowledged receipt of the

Stoppage Notices.

            17.   Subsequently, upon being advised by Yusen that it is not the carrier of the

Stopped Goods, but rather than it is the freight forwarder that arranges for the transportation of

the Stopped Goods by various carriers, including OOCL, O2Cool transmitted the Stoppage

Notices to OOCL. OOCL acknowledged receipt of the Stoppage Notices.

            18.   By virtue of having received the Stoppage Notices, Yusen and OOCL were on

notice O2Cool’s demand for stoppage of delivery and return of the Stopped Goods and of

O2Cool’s rights under § 2-705 of the Uniform Commercial Code.

            19.   At the time that each Stoppage Notice was transmitted, TSA Stores was insolvent

within the meaning of § 2-705(1) of the Uniform Commercial Code.

            20.   At the time that each Stoppage Notice was transmitted:

                  (a)    the Stopped Goods that were the subject of each Stoppage Notice had not
                         been received by TSA Stores and were not in TSA Stores’ physical
                         possession;

                  (b)    no bailee had acknowledged to TSA Stores that such bailee held the
                         Stopped Goods for TSA Stores;




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                  (c)    no carrier by reshipment or as warehouseman had acknowledged to TSA
                         Stores that such carrier by reshipment or as warehouseman held the
                         Stopped Goods for TSA Stores; and

                  (d)    no negotiable document of title covering the Stopped Goods had been
                         negotiated to TSA Stores.

            21.   As a result, O2Cool’s Stoppage Notices were valid and effective.

            22.   On information and belief, after O2Cool issued the Stoppage Notices, and

notwithstanding O2Cool’s rights under the Stoppage Notices and § 2-705 of the Uniform

Commercial Code, TSA Stores advised Yusen and/or OOCL to disregard the Stoppage Notices

and to continue delivery of the Stopped Goods to TSA.

            23.   After it issued the Stoppage Notices, O2Cool engaged in dialogue with both

Yusen and O2Cool in an effort to ascertain the location of the Stopped Goods.                Upon

information and belief, the all or a portion of the Stopped Goods may have been delivered to

TSA Stores notwithstanding the Stoppage Notices and O2Cool’s rights thereunder. O2Cool

lacks knowledge regarding, and will seek to discover, the present location of the Stopped Goods.

None of the Stopped Goods have been returned to O2Cool, and no proceeds from the sale of the

Stopped Goods have been remitted to O2Cool.

            24.   If any of the Stopped Goods were received by TSA Stores, some or all may have

been sold to TSA Stores’ customers. O2Cool lacks knowledge regarding, and will seek to

discover, whether any of the Stopped Goods were sold by TSA Stores and the proceeds received

from such sales.

            25.   If any of the Stopped Goods were received by TSA Stores and sold to TSA

Stores’ customers, some or all of the proceeds of sale may have been remitted to one or more of

the Lenders.      O2Cool lacks knowledge regarding, and will seek to discover, whether the

proceeds of sale of any of the Stopped Goods, if any, were remitted to any of the Lenders.


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            26.    As of the date hereof, O2Cool has been unable to ascertain whether all or any

portion of the Stopped Goods were actually delivered to TSA Stores.

                                             COUNT I
                               Determination of Property of the Estate

            27.    O2Cool repeats and realleges the allegations contained in paragraphs 1 through 23

hereinabove as if fully set forth herein.

            28.    This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. § 2201.

            29.    A declaratory judgment would settle this controversy between the parties and

would clarify the parties’ current legal rights, duties and obligations.

            30.    As a result of the Stoppage Notices, the goods subject thereto did not become

property of TSA’s bankruptcy estate.

            31.    O2Cool is entitled to possession of the Stopped Goods, to the extent they are still

in TSA Stores’ possession, or to the proceeds of TSA Stores’ (or its agent’s or designee’s) sale

thereof.

            WHEREFORE, Plaintiff O2Cool respectfully requests that this Court enter judgment in its

favor and against Defendants:

                   (a)    declaring that the Stopped Goods are not property of TSA Stores’ (or any
                          other Debtors’) bankruptcy estate;

                   (b)    ordering TSA Stores to provide an accounting of (i) Stopped Goods still in
                          its possession and (ii) any proceeds of TSA Stores’ sale of the Stopped
                          Goods;

                   (c)    ordering TSA Stores and the Lenders to provide an accounting of any
                          proceeds of TSA Stores’ sale of the Stopped Goods remitted to one or
                          more Lenders;

                   (d)    ordering any Defendant in possession of either Stopped Goods or proceeds
                          of sale of the Stopped Goods immediately to return or remit the same to
                          O2Cool; and

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                   (e)    granting O2Cool such other and further relief as this Court deems fair and
                          equitable.

                                             COUNT II
                                         (in the alternative)
                                    Determination of Lien Priority

            32.    O2Cool repeats and realleges the allegations contained in paragraphs 1 through 23

hereinabove as if fully set forth herein.

            33.    This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. § 2201.

            34.    A declaratory judgment would settle this controversy between the parties and

would clarify the parties’ current legal rights, duties and obligations.

            35.    As a result of the Stoppage Notices, O2Cool’s rights in the Stopped Goods are

superior to any rights in the Stopped Goods asserted by any or all of the Lenders as secured

creditors.

            WHEREFORE, Plaintiff O2Cool respectfully requests that this Court enter judgment in its

favor and against Defendants:

                   (a)    declaring that O2Cool’s rights in the Stopped Goods are superior to any
                          rights in the Stopped Goods asserted by any or all of the Lenders as
                          secured creditors;

                   (b)    ordering TSA Stores to provide an accounting of (i) Stopped Goods still in
                          its possession and (ii) any proceeds of TSA Stores’ sale of the Stopped
                          Goods;

                   (c)    ordering TSA Stores and the Lenders to provide an accounting of any
                          proceeds of TSA Stores’ sale of the Stopped Goods remitted to one or
                          more Lenders;

                   (d)    ordering any of the Lenders that received proceeds of sale of the Stopped
                          Goods immediately to remit the same to O2Cool; and

                   (e)    granting O2Cool such other and further relief as this Court deems fair and
                          equitable.



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                                            COUNT III
                                            Conversion
                                    (Lenders, Yusen and OOCL)

            36.    O2Cool repeats and realleges the allegations contained in paragraphs 1 through 31

hereinabove as if fully set forth herein.

            37.    By virtue of the Stoppage Notices, O2Cool has a right in the Stopped Goods.

            38.    O2Cool has the right to immediate possession of the Stopped Goods, including

any proceeds of sale of the Stopped Goods.

            39.    Yusen and OOCL have exercised or are exercising wrongful control over the

Stopped Goods.

            40.    To the extent that any of the Lenders received proceeds from TSA Stores’ sale of

any of the Stopped Goods, such Lenders are exercising wrongful control over the Stopped

Goods.

            41.    O2Cool demanded possession of the Stopped Goods.

            WHEREFORE, Plaintiff O2Cool respectfully requests that this Court enter judgment in its

favor and against Defendants:

                   (a)    ordering TSA Stores to provide an accounting of (i) Stopped Goods still in
                          its possession and (ii) any proceeds of TSA Stores’ sale of the Stopped
                          Goods;

                   (b)    ordering TSA Stores and the Lenders to provide an accounting of any
                          proceeds of TSA Stores’ sale of the Stopped Goods remitted to one or
                          more Lenders;

                   (c)    ordering any of the Lenders, Yusen or OOCL in possession of either
                          Stopped Goods or proceeds of sale of the Stopped Goods immediately to
                          deliver or remit the same to O2Cool;

                   (d)    ordering Yusen and OOCL to pay to O2Cool, as damages, the Unpaid
                          Balance, less the value of any Stopped Goods or proceeds of Stopped
                          Goods turned over to O2Cool; and




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                      (e)   granting O2Cool such other and further relief as this Court deems fair and
                            equitable.

Dated: June 21, 2016                              CAMPBELL & LEVINE, LLC

                                                  /s/ Ayesha C. Bennett
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